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PayPal, Inc. and PayPal Holdings, Inc.

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


MARC A. STEPHENS,                        Case No. 22-cv-01940-MCA-JBC

              Plaintiff,

V.

EQUIFAX, INC., EQUIFAX
INFORMATION SERVICES, LLC,
AND EQUIFAX CONSUMER
SERVICES LLC, EXPERIAN
INFORMATION SOLUTIONS, INC.,
SYNCHRONY FINANCIAL, A                    NOTICE OF DEFENDANTS PAYPAL,
DELAWARE CORPORATION                     INC. AND PAYPAL HOLDINGS, INC.’S
PAYPAL, INC., PAYPAL                     MOTION TO COMPEL ARBITRATION
HOLDINGS, INC., A DELAWARE                OR DISMISS IN THE ALTERNATIVE
CORPORATION,

              Defendants.


TO: Marc A. Stephens
    271 Rosemont Place
    Englewood, NJ 07631
    Email: marcstephens3@gmail.com
    Plaintiff Pro Se



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             PLEASE TAKE NOTICE that as soon as counsel may be heard, the

undersigned shall move, before the District Court Judge for the United States

District Court, District of New Jersey, Martin Luther King Building & U.S.

Courthouse, 50 Walnut Street, Newark, NJ 07102, for an Order granting

Defendants PayPal, Inc. and PayPal Holdings, Inc.’s Motion to Compel Arbitration

or in the alternative, Dismiss Plaintiff’s Complaint pursuant to Fed. R. Civ. P.

12(b) (6).

             PLEASE TAKE FURTHER NOTICE that in support of this motion,

counsel for Defendants will rely upon the accompanying Brief in Support of this

Motion and Certification of Jill Potter submitted herewith.

             PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

also submitted herewith.

                                       SAUL EWING ARNSTEIN & LEHR LLP
                                       Attorneys for Defendants
                                       PayPal, Inc and PayPal Holdings, Inc.


                                       /s/ Ryan L. DiClemente
                                       Ryan L. DiClemente, Esq.


Dated: August 29, 2022




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